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                         INTERVIEW OF RICH GABRISH




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   1                         Interview of Rich Gabrish

   2               AGENT SCHAEFER:      This is Agent in Charge Schaefer

   3    from the Colorado Bureau of Investigation.                  Also here is AIC

   4    Volz.   Today is the 24th of February 2016.                 It's approximately

   5    4:15 in the afternoon.     We are up here at 116 Iris Drive.

   6    We're with Rich Gabrish, phone number 303-838-6276 for a home

   7    and a cell is 303-229-8582.

   8               Mr. Gabrish, can I get your date of birth from you?

   9               MR. GABRISH:    10/22/39.

  10               AGENT SCHAEFER:      10/22, okay, '39.             All right.

  11    Obviously you know why we're here.               We are the investigating

  12    body of what happened up here, up the street here today.

  13    Again, like I told you before, we got your card from one of

  14    the deputies and said that you may have known what I'm going

  15    to call the suspect here and that's Mr. Wirth, so start off I

  16    guess just kind of tell us if you knew the guy, how you knew

  17    him, all that kind of stuff.

  18               MR. GABRISH:    Well, a neighbor and I got that ATV

  19    out there and I plow -- I plow the neighborhood so I do his

  20    driveway and got to know him a little bit and, I mean, I don't

  21    collect money but -- and I've known him well for probably four

  22    or five years.    I know he quit drinking about eight years ago.

  23    He belonged to the local AA club.              He still smoked a lot of

  24    dope but he was, he was sober every time and I don't think he

  25    drank at all anymore, but he was crazy.

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   1               He -- and probably two years ago or so I even called

   2    Sheriff Wegener and told him that if he was, they were going

   3    to serve him -- he was losing his house and if he was going to

   4    serve him, that he would shoot at them.                   He said that.   And I

   5    called Fred and told him that he was going to do that and he

   6    thanked me and they would be aware of it and then they finally

   7    were evicting him and he had a certain date he had to be out

   8    by and he wasn't making it and then that whole occupation

   9    people, it was about five or six of them from the area or the

  10    city came up and were going to protest in his driveway.

  11               AGENT SCHAEFER:      How long ago was that, do you

  12    suppose?

  13               MR. GABRISH:    Three years maybe, two or three years.

  14               AGENT VOLZ:     Oh, so the Occupy Denver people?

  15               MR. GABRISH:    Yeah.        Well, yeah, I think so.

  16               AGENT SCHAEFER:      Those same people that were like

  17    lined up on --

  18               AGENT VOLZ:     The Capitol on Broadway?

  19               AGENT SCHAEFER:      -- Broadway in front of the

  20    Capitol?   You think so?

  21               MR. GABRISH:    Yeah, yeah.            Same people because he

  22    was always -- he said he was an anarchist.

  23               AGENT SCHAEFER:      Okay.

  24               MR. GABRISH:    And he hated police.                I mean, just

  25    authority, just hated the authority.                Anyway, they were there

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   1    and they were going to have a sit in and try to block the

   2    driveway or whatever they were going to do and then I think

   3    what happened is he said how he'd shoot the police and they

   4    all left.    They didn't want any part of that.                And then he

   5    wasn't going to get out in time but he was moving and so I

   6    called the Sheriff's Department and said, you know, that he

   7    was moving, if you could wait a day or two, he'll be out and

   8    there won't be any problems and he said, well, I have to hear

   9    that from him and he did move out.               He had all his stuff.       A

  10    month or so later the whole -- the bank had the people come in

  11    and put everything by the curb and that all sat out there for,

  12    the curb here, sat out by the road and then they came and took

  13    all that away.    He was -- he was filing suits about thievery

  14    and they shouldn't have done that and he really -- he

  15    believed, truly believed that they had no legal right to, to

  16    take his house, just because you don't make house payments for

  17    two years.    I don't -- but he believed that and he had filed

  18    many, many suits, just complicated, baffling with bullshit

  19    kind of thing I think but I think he really wasn't bullshit on

  20    his part.    He thought he really -- he really deserved that.

  21                 And then he moved to Brighton, that camper that he

  22    had and he moved that up to someplace, some farm in Brighton

  23    and then I think they threw him out of there and he just come

  24    back and moved in, squatted on the house that he lost and he

  25    was in that, in the camper, living in the camper for several

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   1    months and he got bed bugs in there so he moved out of the

   2    camper and moved into the house.

   3               AGENT SCHAEFER:      So no one had occupied that in the

   4    time that he had left?

   5               MR. GABRISH:    No, no.         And he was continuously --

   6    anyway, then I probably, I'm going to say six weeks maybe, I

   7    called again because he was getting more and more adamant

   8    about shooting police.     He wanted to kill them all, not just

   9    -- not just the ones who come to his house.                  He was for

  10    killing the whole police station.              There's no reason why we

  11    should have police.     He was crazy, as I say.               And again I

  12    called the police department and called Track Pred (phonetic)

  13    but I think one of the assistants acknowledged my call, and

  14    then just last week or maybe 10 days ago, he went to

  15    Evergreen, Jefferson County, to get plates for his truck and

  16    found out that they wouldn't sell him -- oh, no, he went to

  17    get insurance, excuse me, insurance for the truck because his

  18    license was revoked from when he was running for office as

  19    (indiscernible).    It would have been fun to see him in office

  20    but -- they wouldn't sell him insurance and I imagine, this is

  21    my imagination now talking, that he got probably violent with

  22    them, with the insurance agent, because they called the

  23    sheriff, Jefferson County, and I'm quoting him, his story.

  24    They followed him all the way home until they reached 43A and

  25    then they turned on the lights and he wouldn't stop.                 He said

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   1    I don't know if they're police or not and so they got in his

   2    driveway and I saw in the meantime, I come by and there was

   3    five or six squad cars and ambulance and he was here for

   4    Christmas dinner.    He was alone, I invited him for Christmas

   5    dinner and just last week I drove him, he wanted to file more

   6    paperwork in Fairplay.     We would argue.                I could call him

   7    stupid and you're wrong.       I mean, I never felt threatened by

   8    him but I wasn't a policeman.

   9               AGENT SCHAEFER:      Uh-huh.

  10               MR. GABRISH:    He was very, very intelligent man, I

  11    think.   I mean, he'd give some facts that you couldn't,

  12    physics and such that I couldn't chat, but he sounded like he

  13    knew what he was talking about and he'd write this far out

  14    science fiction and then let me get -- but first part of

  15    November I drove him to the airport.                He was going -- he's got

  16    a mother and a brother in New Jersey.

  17               AGENT SCHAEFER:      Okay.

  18               MR. GABRISH:    I don't know their names other than

  19    Wirth but his mother kept -- he was always saying how his

  20    mother was yelling at him and how he was wrong and then when

  21    he came back, he was there for two or three weeks, earned some

  22    money from his brother by doing some remodeling, and then he

  23    called me to pick him up at the bus stop at Pine Junction, and

  24    I picked him up.    Everything was (indiscernible), other than

  25    his normal crazy stuff, but just a few days ago I pulled in

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   1    his driveway just to see how he was doing.                   I saw smoke.   I

   2    said, well, I see you're still alive.                  He said yeah but

   3    probably not for long.      So he was intent on dying.               He knew he

   4    was going to -- I said you're not going to win that battle.

   5    They just take a bazooka and blow you up.                    He says well, I

   6    can't go on living like this and I mean, it was suicide by

   7    cop.   I mean, that's what he did.              I don't know, you know,

   8    coulda, woulda, should of but I don't know what I could have

   9    done different.    I warned them.

  10                And then when he got in that trouble, Nate, the guy

  11    that got killed, you know, he's living with Madelyn, Marilyn,

  12    something like that.      I knew her quite well.               She ran a shop

  13    at Pine, or at Dellwood on Mate (phonetic) in Bailey and she

  14    was selling some of my canes and sticks and I know she had a

  15    scanner so I called her to ask her what was going on and she

  16    just told me a little bit.         She said I don't know how much I

  17    can tell you.    That's when Nate lived with her.

  18                AGENT SCHAEFER:      Uh-huh.

  19                MR. GABRISH:    It's a small community.

  20                AGENT VOLZ:    Yeah.

  21                MR. GABRISH:    And she wouldn't tell me much but she

  22    said don't have anything to do with him, he's crazy, so the

  23    police knew.    I mean, they knew.            I just get mad at everybody

  24    for that.   Just there's no sense anybody dying but it's done,

  25    but he knew he was going to die.              He couldn't -- he said he

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   1    couldn't get a job.     I would say well, Moore Lumber in town is

   2    hiring, you know, go there and he never would.                    He just liked

   3    to bitch about not being able to find a job.                    He was very,

   4    very broke.    He would do some handyman work for me once in a

   5    while but I would never pay him by the hour, he was so slow.

   6    Very meticulous though, very meticulous but slow and always

   7    bitching about how bad the world treated him.                    You know, he

   8    worked for -- he was a programmer, computer.                    Now he saved

   9    Martin -- what is it -- it's not Martin Marietta anymore.

  10                 AGENT SCHAEFER:      Lockheed Martin.

  11                 MR. GABRISH:    Lockheed Martin.                He saved them

  12    millions and millions and they let him go.                    Just bitter about

  13    everything.

  14                 AGENT SCHAEFER:      So he did -- he said he used to

  15    work at Lockheed Martin?

  16                 MR. GABRISH:    Yeah.        And then Northwest Insurance I

  17    think was his last really paying job I think.

  18                 AGENT SCHAEFER:      Which -- I'm sorry -- last paying

  19    job was --

  20                 MR. GABRISH:    I think it was --

  21                 AGENT VOLZ:    Northwest Insurance you said?

  22                 MR. GABRISH:    I think so, one of them in Denver.                 He

  23    was a programmer.

  24                 AGENT SCHAEFER:      How long ago do you think that job

  25    was if you were to guess?

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   1               MR. GABRISH:    Probably a year and a half I guess,

   2    two years maybe.    I'm not -- not real sure.                In fact just two

   3    or three days ago, I mean he was so adamant about shooting

   4    somebody, I said why don't you give me your mom and brother's

   5    phone number so if you die I can -- I can tell somebody.

   6               AGENT VOLZ:    Did he give it to you?

   7               MR. GABRISH:    And he was gonna but he never got

   8    around to it.    I don't have their, their number.               I'm sure

   9    there's paperwork around the house that will have it.

  10               AGENT SCHAEFER:      When was the last time you suppose

  11    you talked to the Sheriff's Department up there?

  12               MR. GABRISH:    You mean actually told them?

  13               AGENT SCHAEFER:      Yeah because you said you notified

  14    them several times, correct?

  15               MR. GABRISH:    Twice.

  16               AGENT SCHAEFER:      Twice?

  17               MR. GABRISH:    Once was several years ago and then

  18    once was I'm going to guess two or three months ago.

  19               AGENT SCHAEFER:      Okay.

  20               MR. GABRISH:    But then that woman I talked to,

  21    Nate's wife, girlfriend, whatever, said that she heard that

  22    one of the neighbors, which I presume warned the police about

  23    it so she knew that he was, they all knew that he was

  24    (indiscernible) and that's probably why they sent three

  25    deputies to serve an eviction notice.

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    1               AGENT SCHAEFER:      They --

    2               MR. GABRISH:    Was it three or four?

    3               AGENT SCHAEFER:      They had many more up there than

    4   that.

    5               MR. GABRISH:    To serve?

    6               AGENT SCHAEFER:      They listened to you, yeah.

    7               MR. GABRISH:    Oh, good.           I mean, I would like to say

    8   I could have done something different.                     The only thing is if

    9   somebody would have -- I could have lured him out of the house

   10   or I'd take him to the grocery store if I was going and I

   11   could have taken him.      It's always easy, what if.

   12               AGENT SCHAEFER:      Yeah.

   13               AGENT VOLZ:    Sure.

   14               AGENT SCHAEFER:      Yeah, you can what if everything

   15   but they, I mean, I'm confident in saying just working with

   16   Sheriff Wegener, Dan and I have for many times over many

   17   different situations, to have as many people as they had up

   18   there today when this whole thing went down, they listened to

   19   you.

   20               MR. GABRISH:    Well --

   21               AGENT SCHAEFER:      You generally don't see that.

   22               AGENT VOLZ:    Yeah.

   23               AGENT SCHAEFER:      So --

   24               MR. GABRISH:    And then when they had that last

   25   altercation, you know, they threw them down on the ground,

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    1   broke some teeth out.      He had dentures -- just he was at -- in

    2   fact, I would drive him to, it's not Denver General anymore

    3   but --

    4               AGENT VOLZ:    Denver Health?

    5               AGENT SCHAEFER:      Denver Health.

    6               MR. GABRISH:    Denver Health.

    7               AGENT VOLZ:    Yeah.

    8               MR. GABRISH:    Drive him there, he had dentures put

    9   in and some partial and some other things, some dental work

   10   done under Medicaid and I'd drive him a couple times for that,

   11   saying, you know, you can't -- if they're going to pull teeth

   12   and give you drugs, you can't drive home and he let me drive

   13   him home or take him down and do that, but, I mean, I'd hang

   14   out.   I was the only one he really talked to.                  He had a

   15   girlfriend that's in, not even a girlfriend.                   She lived there

   16   for a while that she was in trouble.                 She had little children,

   17   a child, and I think in Boulder, Boulder she was living and

   18   the child was living with him for a while.                   She moved out.

   19               AGENT SCHAEFER:      Like she was in trouble like she

   20   got put in jail you think or something?

   21               MR. GABRISH:    Yeah, she was in jail and then they

   22   took the baby and her parents are now custody of the child.

   23   She was strange, too.

   24               AGENT SCHAEFER:      How long ago would you say he had

   25   this girlfriend or friend that lived with him?

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    1               MR. GABRISH:    A year and a half or so.              But she was

    2   in trouble not too long ago.           I think she's either in

    3   Tennessee or Florida now he said, he told me that.

    4               AGENT SCHAEFER:      Do you remember her name, anything?

    5               MR. GABRISH:    I should know it, the first name, but

    6   I don't.

    7               AGENT SCHAEFER:      Okay.

    8               MR. GABRISH:    It began with a K, I think, but I'm

    9   not --

   10               AGENT SCHAEFER:      But she lived up -- how long did

   11   she live with him?

   12               MR. GABRISH:    Month or two or three.              He said they

   13   never were lovers.     She was quite a bit younger than he was,

   14   in her twenties and she thinks, because I drove her to the

   15   light rail.    She was going to someplace, moving out and with a

   16   garbage bag and a torn sheet for a leash for the dog and

   17   carrying the baby.     She wasn't all there but they met at the

   18   Occupy Denver.

   19               AGENT SCHAEFER:      Okay.

   20               AGENT VOLZ:    So just kind of a mutual kind of --

   21               MR. GABRISH:    Well, he wanted to have her, I mean,

   22   he always complained a lot about not having a girlfriend.                 Who

   23   would have me.    He doesn't have any money, doesn't have any

   24   teeth at the time and always complaining about not having any

   25   life, you know, and he said I don't have any life going

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    1   anyway, might as well die.

    2               AGENT SCHAEFER:      Just nonchalantly like that?

    3               MR. GABRISH:    Just about, yeah.                I mean, he wasn't

    4   expecting any help from me but I don't know what I could have

    5   done anyway.    In fact, even before this I thought over and

    6   over if I had his mom or brother, I'd call them and tell them.

    7               AGENT SCHAEFER:      Any idea what the first names are?

    8               MR. GABRISH:    Not at all.

    9               AGENT SCHAEFER:      Assume the last names are Wirth?

   10               MR. GABRISH:    Yeah.

   11               AGENT SCHAEFER:      He ever mention anything about

   12   being adopted or anything like that?

   13               MR. GABRISH:    No, I don't think so.                His mother

   14   would call him and yell at him, as I say, a lot.                    His brother,

   15   he didn't -- I think he had two brothers but it'd be on his

   16   phone if you can get into his phone, I'm sure.

   17               AGENT VOLZ:    What is his phone number?

   18               MR. GABRISH:    Let me get it.                 It's on my computer.

   19   This is his cellphone.      He didn't have a landline.                Perfect.

   20               AGENT VOLZ:    Thank you.

   21               MR. GABRISH:    He also didn't -- he would buy his

   22   minutes.    There's a thing hanging in the tree usually where it

   23   was a relay kind of pickup.          The tower's over --

   24               AGENT VOLZ:    Kind of like a booster-type thing?

   25               MR. GABRISH:    Yeah.

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    1               AGENT VOLZ:    Yeah.

    2               MR. GABRISH:    And if he didn't have it in the house,

    3   because he had to have it, probably at a tree or something.

    4               AGENT SCHAEFER:      What is it?               Do you know what it

    5   is?

    6               AGENT VOLZ:    Yeah, I mean, like if you live in a

    7   certain area where there isn't good reception, you can buy

    8   this little booster thing that -- or sometimes the service --

    9               MR. GABRISH:    Well and he paid, yeah, he would pay

   10   so much a month and then sometimes you'd call him and he

   11   wouldn't have any because he didn't have the money to --

   12               AGENT VOLZ:    Right.

   13               MR. GABRISH:    -- pay for the phone.

   14               AGENT SCHAEFER:      Oh, to get minutes?              Okay.

   15               MR. GABRISH:    And then it was real hard.                Bottom of

   16   my driveway I might have trouble getting the cell towers right

   17   out that window --

   18               AGENT VOLZ:    Right.

   19               MR. GABRISH:    -- and bottom of my driveway I

   20   couldn't get it but here I get fine, just up a little bit.

   21   He's down a little bit so he would have iffy service, whatever

   22   that's worth.

   23               AGENT VOLZ:    Yeah.

   24               AGENT SCHAEFER:      Okay.

   25               MR. GABRISH:    But I'm sure if you can get into his

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    1   phone -- did they come last night to tell him that he was

    2   being evicted today?

    3                AGENT VOLZ:    Not that I'm aware of.

    4                MR. GABRISH:    I would think that'd be silly.              That's

    5   what somebody told me.

    6                AGENT VOLZ:    Yeah.       I don't think so but, you know,

    7   and that was what I was going to ask you was, you know, the

    8   last conversation you had with him, whenever that was, you

    9   know, did he -- did he basically expect them at some point to

   10   be coming?

   11                MR. GABRISH:    Yeah but he wasn't sure if it would be

   12   two days from now or three weeks or 10 days or, you know,

   13   whenever.

   14                AGENT SCHAEFER:      So when was the last time you

   15   talked to him do you suppose?

   16                MR. GABRISH:    I don't know, two or three days ago.

   17   I was gone this morning when all this happened.                   In fact, the

   18   guy working on that weird A-frame across the street, he used

   19   to live there.    Now he rents it out.                I hadn't seen him in a

   20   couple years.    We stopped and talked right in front of Marty's

   21   house and then went down to the City with the neighbor who

   22   used to live on the corner next to (indiscernible), and

   23   whatever it's worth, too, this was during, this was probably

   24   in '94 when he was still drinking.                 The people across the

   25   street, their kids were riding a motorcycle up and down the

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    1   street and the father called, he said he tried, Marty tried to

    2   run over the kids and then the Sheriff when they came out said

    3   well, you can't prove that he tried to run over them but the

    4   kids can get a ticket for going up and down the street on

    5   motorcycles.    Just, I mean, that's the way --

    6               AGENT SCHAEFER:      How long did he live there?

    7               MR. GABRISH:    Ten, 12 years I guess.              That's easy

    8   enough to check.

    9               AGENT SCHAEFER:      Yeah.

   10               MR. GABRISH:    The bank had called, you know, just

   11   I'm going to say a month ago and wanted to know if we had city

   12   water and city sewers here.          Just sounded like they were

   13   getting ready to evict and put it on the market or something.

   14               AGENT SCHAEFER:      Uh-huh.

   15               MR. GABRISH:    The house is, I don't know if you were

   16   in it, it's in pretty bad shape.              He didn't fix it and didn't

   17   -- he was pretty handy though.            I mean, the inside of that

   18   camper if it didn't have the bed bugs -- I told you he moved

   19   into the house because of the bed bugs.

   20               AGENT VOLZ:    Yeah.

   21               MR. GABRISH:    He did a -- good cabinet maker.             Very

   22   -- very meticulous guy but --

   23               AGENT SCHAEFER:      I'm going to stop real quick.           The

   24   mention of the bed bugs makes me want to notify the people

   25   going in there.

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    1                AGENT VOLZ:    Yeah.

    2                AGENT SCHAEFER:      So let me -- let me send --

    3                MR. GABRISH:    That was before winter.

    4                AGENT VOLZ:    Yeah.

    5                AGENT SCHAEFER:      Okay.        Would winter kill them off?

    6   I don't know.

    7                MR. GABRISH:    I don't know either.

    8                AGENT VOLZ:    I don't either but I think they like

    9   warm environments.

   10                MR. GABRISH:    Yeah.

   11                AGENT VOLZ:    You know?

   12                MR. GABRISH:    I gave him a bed bug bomb, one of

   13   those that I had here for years, a bomb.                     You put in and leave

   14   the house.

   15                AGENT VOLZ:    Oh.

   16                MR. GABRISH:    I don't know if that worked or not, if

   17   he ever even used it. I don't know.

   18                AGENT VOLZ:    Yeah.

   19                AGENT SCHAEFER:      That just freaks me out.

   20                MR. GABRISH:    My wife said don't invite him here.

   21                AGENT VOLZ:    Yeah.

   22                AGENT SCHAEFER:      Okay.        So last you talked to him

   23   you think two or three days ago and he did not give an

   24   impression at that time that he knew the Sheriff's Department

   25   was coming on this day --

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    1               MR. GABRISH:    No.

    2               AGENT SCHAEFER:      -- or that day but did know

    3   eventually they were coming?

    4               MR. GABRISH:    Yeah.

    5               AGENT SCHAEFER:      Okay.

    6               AGENT VOLZ:    And this was, I mean, this was his -- I

    7   mean, this was his plan, right?

    8               MR. GABRISH:    Yeah, yeah.            He thought all police

    9   should be dead, there's no need.              That was the anarchist part.

   10   There was no need for police, they're just enforcement of bad

   11   laws.

   12               AGENT VOLZ:    Did he ever explain to you exactly how

   13   he would, you know, try to carry it out or how he would watch

   14   for them?

   15               MR. GABRISH:    Just that he had a gun.              I offered to

   16   buy the -- and I don't know if it was a shotgun, rifle.                 I

   17   mean, I said, geez, I'm always in the market for, for a gun.

   18   Do you want to sell it?       And no, he didn't want to sell it.

   19               AGENT VOLZ:    So how many weapons or firearms did you

   20   know he had?

   21               MR. GABRISH:    That's the only one I know of.

   22               AGENT SCHAEFER:      And what do you think it was?

   23               MR. GABRISH:    I don't know.

   24               AGENT SCHAEFER:      Okay.

   25               MR. GABRISH:    I presume it was a rifle the way he

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    1   talked but I'm just presuming.             He never said what caliber or

    2   anything.    He did have a big earth mover that I bought from

    3   him a couple years ago and then resold it.                    He was real hard

    4   up for money and he wanted to get rid of it so -- big Kubota

    5   and -- yeah, I'm trying to --

    6                AGENT VOLZ:    Did he ever talk about any of the

    7   firearms as far as sales and purchasing firearms or anything?

    8                MR. GABRISH:    No.      The Sheriff asked at the end of

    9   the driveway about explosives in the house and he never

   10   mentioned explosives or having any or even threatened with

   11   that.   He threatened he'd shoot the police.                   I think he would

   12   have told me if he had the house wired.

   13                AGENT VOLZ:    Right.

   14                MR. GABRISH:    Or mentioned something about it but I

   15   think he was certainly capable of it.                   I mean, he had the

   16   knowledge to do it.     That's what I guess I --

   17                AGENT SCHAEFER:      He gave that impression he had that

   18   knowledge?

   19                Are you pretty confident he worked for Lockheed

   20   Martin in the past?

   21                MR. GABRISH:    Yeah, positive.                That could have been

   22   many years ago.    It might have been before Lockheed but --

   23                AGENT SCHAEFER:      Was he working down at Waterton

   24   Canyon do you think?

   25                MR. GABRISH:    Yeah.

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    1               AGENT SCHAEFER:      Did he -- did he ever talk about

    2   besides the mother and the brother, did he -- and this girl

    3   that you told us about -- did he ever talk about being close

    4   to anyone else?

    5               MR. GABRISH:    No.

    6               AGENT SCHAEFER:      Any other family?              Did you know of

    7   anybody else in the neighborhood that knew him?

    8               MR. GABRISH:    No, not -- no.                 The woman across the

    9   street in the A-frame --

   10               AGENT SCHAEFER:      Okay.

   11               MR. GABRISH:    -- she was -- she talked to him a

   12   couple times.    She was -- she was pretty bitter.                  She went out

   13   and covered all his stuff with her tarp and then when they

   14   came, they took her tarp, so she was -- but that's -- she's

   15   not much better than he is.          She's -- I don't think she's

   16   dangerous but she's got lawsuits about them taking her house,

   17   too, so I think they had some camaraderie there.

   18               AGENT SCHAEFER:      Okay.

   19               MR. GABRISH:    But I don't think it was very close at

   20   all.   If you go to talk to her, you'll wish you didn't and

   21   you'll see what I mean.       You'll never talk, I mean, you can't.

   22   She just goes on and on and on and on.

   23               AGENT SCHAEFER:      When you said he planned this, you

   24   have no doubt he planned this, do you think -- and maybe it's

   25   not a fair question.     Do you think he was waiting for deputies

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    1   to come as far as having guns --

    2               MR. GABRISH:    Yeah.

    3               AGENT SCHAEFER:      -- in particular places, that

    4   stuff?

    5               MR. GABRISH:    Yeah, I think so.

    6               AGENT SCHAEFER:      I mean, again, I know it's not a

    7   fair question.

    8               MR. GABRISH:    He might have had it ready and ready

    9   to go.   I haven't been -- I've only been in the house once or

   10   twice.   Usually I just -- I would plow his driveway or drive

   11   up and say hello and I'd just sit in my truck and talk to him.

   12   You know, it was like a mongrel dog.                 I mean, that's the way I

   13   looked at it.    I mean, I certainly -- at Christmas we just had

   14   him here.    We usually take in the derelicts in the

   15   neighborhood and he was one of them.                 But the other -- there

   16   was two other people here then.             I mean, nobody -- I don't

   17   think it even came up that he was going to shoot anybody, but

   18   it certainly wouldn't surprise me if he would have but I don't

   19   think he did then but he was -- he was planning on dying.                I

   20   mean, I could almost hear him say, you know, what do I have to

   21   live for?

   22               AGENT VOLZ:    What do you think he was, you know, you

   23   saw him two or three days ago.            What do you think he was doing

   24   over there?    I mean, he didn't have a job and everything, the

   25   last couple days --

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    1                MR. GABRISH:    He was writing.                He was writing.   He

    2   would always get into his computer, I imagine, because he's

    3   always saying he's writing these science fiction books and

    4   that and his lawsuits and I said just a week or two ago, I

    5   drove him to Fairplay.       He wanted to file another lawsuit --

    6   that'd be on record.       He was (indiscernible).               He left a copy

    7   in my truck and I looked at it.              It was done quite

    8   professional.    At least to me it sounded very professional,

    9   very good.    He wasn't a dummy.           Crazy but not a dummy.

   10                AGENT VOLZ:    Do you know if he ever sought any

   11   treatment or was taking any medication?

   12                MR. GABRISH:    No.      I would also, I mean, I know when

   13   he had his teeth pulled, they told him if he didn't straighten

   14   up or something they were going to not let him come back or

   15   throw him out or something so if you want more, I mean, you

   16   can probably --

   17                AGENT SCHAEFER:      And that was Denver Health?

   18                MR. GABRISH:    Yeah.

   19                AGENT SCHAEFER:      And that was just -- that was after

   20   the incident with the Jeffco deputies?

   21                MR. GABRISH:    That was, no, that's when they broke

   22   his teeth --

   23                AGENT SCHAEFER:      Okay.

   24                MR. GABRISH:    -- that they put in.               This was

   25   probably -- it was fall --

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    1                AGENT SCHAEFER:      Okay.

    2                MR. GABRISH:    -- sometime.

    3                AGENT SCHAEFER:      And he was there for some dental

    4   work?

    5                MR. GABRISH:    Then they pulled a bunch of teeth.

    6                AGENT SCHAEFER:      Okay.

    7                MR. GABRISH:    He was back many times but most of the

    8   time he didn't have to have teeth pulled so I didn't take him.

    9                AGENT VOLZ:    But as far as mental issues, you know,

   10   as you say he was crazy.         Do you know if he was ever on any

   11   sort of medication or ever seen a psychiatrist or anything

   12   like that?

   13                MR. GABRISH:    I don't think so.                I don't think so.

   14   The only thing he did, he said he smoked a lot of marijuana.

   15   He didn't drink, as I said, but he thought it was okay to do

   16   marijuana.    It wasn't alcohol.

   17                AGENT VOLZ:    Right.

   18                AGENT SCHAEFER:      So you said about 10, 12 years

   19   you've known him?

   20                MR. GABRISH:    Probably, and he's been there for that

   21   long.   I didn't know him real well.                Once in a while I'd have

   22   a dog that got loose and I'd try to go over and talk to him a

   23   little bit but I'm trying to think when I really -- I had a

   24   cow, too, that would go over and eat his hay.

   25                AGENT SCHAEFER:      What do you suppose he, I mean, it

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    1   really seems like, just like you said, he was close with you

    2   with anybody else.     What do you suppose -- why do you suppose

    3   that was?

    4                MR. GABRISH:    Because I talked to him and, I mean,

    5   when we went to Fairplay, I'd say you're stupid, you're dumb.

    6   You know, and I never felt, I never felt threatened.                  Of

    7   course, I wasn't a policeman.             I mean, I could tell him most

    8   anything or, you know, get a job, or you know, I'm also in AA,

    9   is tell him, you know, well, what's your part in this, you

   10   know?   Yeah, maybe you're innocent but you have to play a part

   11   and he never would answer it or reply to it but --

   12                AGENT VOLZ:    Now, you said that he claimed to be an

   13   anarchist.

   14                MR. GABRISH:    Uh-huh.

   15                AGENT VOLZ:    So did he explain what he thought that

   16   meant or what did you mean by that?

   17                MR. GABRISH:    No government, you don't need any

   18   government.    You know, just if we were all nice people, we

   19   wouldn't need government.         I said we're all not nice people.

   20   Well, we should be.

   21                AGENT VOLZ:    And do you know if he ever, it sounded

   22   like he was pretty computer savvy.

   23                MR. GABRISH:    Yes, very so.

   24                AGENT VOLZ:    So did he ever, you know, post things

   25   online?   Did he have a personal website that you know of where

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    1   he had some of that --

    2                MR. GABRISH:    I mean, I saw it on the news he had

    3   the one --

    4                AGENT VOLZ:    Okay.

    5                MR. GABRISH:    -- on Facebook.

    6                AGENT VOLZ:    Yeah.       Did you know about that before

    7   you saw that on the news?

    8                MR. GABRISH:    I never paid any attention --

    9                AGENT VOLZ:    Okay.

   10                MR. GABRISH:    -- to it.           I think he did say that he

   11   does have, he did have -- no, that's right.                    He has a personal

   12   website, too.    At least I think he said some website that you

   13   could probably pull up his name.               You can try it if you want.

   14                AGENT VOLZ:    Oh, well, we got -- I just was aware,

   15   wondering if you ever, you know, saw that sort of stuff.

   16                MR. GABRISH:    I think he did say he had a website

   17   that he would ramble on.

   18                AGENT VOLZ:    Yeah.

   19                MR. GABRISH:    I never bothered to look it up, I mean

   20   -- and he would go on.       I mean, the science fiction things.

   21   He would tell me about the stories he's writing and he would

   22   be so far out there.       I mean, it sounded very intelligent.              I

   23   mean, he'd get in the string theory and how this would happen

   24   and that would happen and he lost me, you know, three

   25   paragraphs ago but he seemed to know what he was talking

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    1   about.   It wasn't rambling like a crazy person.                  Well, kind of

    2   but I mean, not -- he was making sense as he was talking, at

    3   least in his own way, but it was suicide.                    I mean, it was.

    4               AGENT VOLZ:    Yeah.

    5               AGENT SCHAEFER:      What else do you think we need to

    6   know about him?

    7               MR. GABRISH:    I don't know.              If you think of

    8   anything, feel free to call.           I've also meant to ask, I mean,

    9   I've gotten -- I didn't -- the only one I talked to and that

   10   was very early in the day when I first found out because our

   11   mailman works for the (indiscernible) and local Park County

   12   and he called me to ask me what's going on so I talked to him

   13   quite a bit and that's the only, I mean, I've gotten calls on

   14   the phone from every radio, television, United Press, the Wall

   15   Street Journal.    I haven't talked to any of them.                 I thought,

   16   well, take out my teeth and mess up my hair and I'll look like

   17   the rest of the people they interview on the news, you know.

   18   Yeah, he was a good guy.        I don't know why, you know --

   19               AGENT SCHAEFER:      I don't know if I can think of

   20   anything else at this time.          Can you, Dan?

   21               AGENT VOLZ:    No.     I mean, I think -- I think we get

   22   the general idea --

   23               AGENT SCHAEFER:      Yeah.

   24               AGENT VOLZ:    -- of this guy, you know, your

   25   knowledge him, your relationship, his kind of thought process,

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    1   you know.

    2               MR. GABRISH:    Yeah.

    3               AGENT VOLZ:    You know, I -- I understand that, you

    4   know, your concern after you said that, you know, you kind of

    5   notified the local authorities a couple times about him and,

    6   you know, what else do you think could have been done with a

    7   guy like this?

    8               MR. GABRISH:    Well --

    9               AGENT VOLZ:    You know?

   10               MR. GABRISH:    I mean, well now with hindsight, I

   11   mean, if they knew like this, I mean, I would have said come

   12   on, let's go -- because I would stop every once in a while and

   13   let him go to Safeway --

   14               AGENT VOLZ:    Yeah.

   15               MR. GABRISH:    -- and say you want to get groceries

   16   and he'd go with and I could have done that and he wouldn't

   17   have had the gun with him.

   18               AGENT VOLZ:    But irrespective of your assistance,

   19   okay, as a friend, had they not known that which they probably

   20   didn't know, you know, that you had that capability or you

   21   were willing to do that --

   22               MR. GABRISH:    Yeah.

   23               AGENT VOLZ:    -- and, you know, quite frankly they

   24   don't like to involve, you know, people who put you at risk,

   25   of course, so you know, what do you think with this guy?                I

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    1   mean, do you think there was any way that it wouldn't have

    2   ended like this?

    3               MR. GABRISH:    No.      No, it was going to happen one

    4   way or the other.     I'm sure of it.             I mean, and the more he

    5   talked about it, the more convinced he was.                   I mean, he was

    6   more adamant.

    7               The first time when they moved him out, I was

    8   surprised there was no action then.                I mean, that he moved out

    9   voluntarily.    I thought that would have been it and it wasn't

   10   but it was building and building.               He just didn't play well

   11   with others.

   12               AGENT VOLZ:    Yeah.

   13               AGENT SCHAEFER:      Okay.        Well, I'm going to leave you

   14   with my card --

   15               MR. GABRISH:    Okay.

   16               AGENT SCHAEFER:      -- and then I have your information

   17   and if I have any more questions, if you don't mind, I'll give

   18   you a call.    You feel free to give me a call about anything

   19   anytime you need, outside of this, I don't care.                   Give me a

   20   call.

   21               MR. GABRISH:    Well, I parked my truck down at the

   22   other neighbor's and walked through the woods.                   If I could get

   23   a ride back to my neighbor's on your way back.

   24               AGENT SCHAEFER:      We'll get you down there and we'll

   25   get you through and we'll do one better.                    We will make sure --

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    1   all you got to do and we'll tell the deputies up here.                     If

    2   you're going to go someplace and they're there, you show them

    3   your driver's license, you live right there, we'll make sure

    4   you can get in and out.

    5                MR. GABRISH:    Okay.        Great.

    6                AGENT SCHAEFER:      That -- you know, sometimes people

    7   get a little bit tight with that so we just need to make sure

    8   that you are, you know, you can go --

    9                MR. GABRISH:    The guy who used to live on the

   10   corner, Hendricks Davore (phonetic), that's his car outside,

   11   he used to live next door on the corner.                     He was the manager

   12   of the Deer Creek Christian Camp.                He didn't know him very

   13   well.   He met him but he didn't know him very well but we went

   14   down to the city this morning probably right before this all

   15   happened.    I mean, we left here at 9 and then got talking

   16   here, so it was probably 10 after, quarter after 9 that we

   17   went by and he needs to come and get his car, too.                     His car is

   18   here.   They wouldn't let him come and get it.

   19                AGENT SCHAEFER:      I think we got it cleared there.

   20   We'll make sure we get you down there and take care of that.

   21                MR. GABRISH:    Okay.

   22                AGENT VOLZ:    Yeah, if you happen to, you know,

   23   remember a name of this gal from Occupy Denver and you know

   24   anybody --

   25                MR. GABRISH:    Yeah, I don't.                 Boy, there's probably

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    1   so many of those and she was a street person.

    2                AGENT VOLZ:    Oh, okay.

    3                MR. GABRISH:    I mean, there's probably so many of

    4   those in Boulder that --

    5                AGENT VOLZ:    Right.

    6                MR. GABRISH:    I imagine her name is, her name is on

    7   the phone, too.    If you tell me who's this and find it on the

    8   phone --

    9                AGENT VOLZ:    Yeah.

   10                MR. GABRISH:    -- I can say yeah, that's it.

   11                AGENT VOLZ:    Okay.       Okay.

   12                AGENT SCHAEFER:      Okay.

   13                AGENT VOLZ:    And no idea as far as, you know, how

   14   long he had his firearm --

   15                MR. GABRISH:    No.

   16                AGENT VOLZ:    -- the weapon there, where he got it?

   17                MR. GABRISH:    No idea.

   18                AGENT VOLZ:    Don't know of anybody that bought him

   19   guns --

   20                MR. GABRISH:    No.

   21                AGENT VOLZ:    -- or anything like that?

   22                MR. GABRISH:    No, he didn't have enough money to buy

   23   groceries.

   24                AGENT VOLZ:    Yeah.

   25                MR. GABRISH:    Like I say, once in a while I'd give

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    1   him some handyman work but he was so slow and -- he said he

    2   was on food stamps and then I think he said he was and then he

    3   went to his brother's to do that work in New Jersey and then

    4   he said he's going to apply again for them or something and I

    5   don't think he did because he was saying one day he didn't

    6   hardly -- in the time I knew him since this trouble, he must

    7   have lost 50 pounds.

    8               AGENT SCHAEFER:      Oh, really?

    9               MR. GABRISH:    Yeah, I mean, his pants were all

   10   snuggled up and --

   11               AGENT SCHAEFER:      Did he look -- did he look like a

   12   street person?    I have no idea.           I mean, if I would have seen

   13   this guy walking down at the Safeway, would I have thought --

   14               MR. GABRISH:    Yeah.

   15               AGENT SCHAEFER:      -- that guy looks like a street

   16   person?

   17               MR. GABRISH:    Yeah.        His clothes were too big, he's

   18   unshaven, no haircut.      The last time when I saw him, I think I

   19   took him to Safeway and I said, man, you got to brush your

   20   teeth.    He says, oh, you live alone, your hygiene just goes

   21   away.

   22               AGENT SCHAEFER:      Is there running water or anything

   23   up there?

   24               MR. GABRISH:    He had the electricity turned on,

   25   paying the bill.     The bank don't, or the electric company

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    1   that's IREA, don't care who pays the bill.

    2               AGENT SCHAEFER:      So if it's getting paid, they're

    3   going to turn it on, right?

    4               MR. GABRISH:    Yeah.        And it's all wells up here.

    5               AGENT SCHAEFER:      Okay.

    6               MR. GABRISH:    So he had -- he had to do some repair

    7   of the plumbing system.       I remember him saying that.            There

    8   was some leaks or something where the guys when they didn't do

    9   it right, when they winterized it.

   10               AGENT SCHAEFER:      But that was vacant for about how

   11   long do you think?

   12               MR. GABRISH:    Six months, maybe a little longer.

   13   I'm guessing.

   14               AGENT SCHAEFER:      And he's been back for how long

   15   roughly?

   16               MR. GABRISH:    Well, it was -- it was probably vacant

   17   for maybe three or four months and then he's been there since

   18   summer.

   19               AGENT SCHAEFER:      Okay.

   20               MR. GABRISH:    And I say, he lived in the trailer

   21   parked in the driveway.       In fact, then when I called the

   22   Sheriff about, I says, you know, he's just living there and

   23   they says well, we can't evict him for squatting.                  The bank

   24   has to form the complaint for them to come in and throw him

   25   out.   They can't do it just because he's there.

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    1                I remember them telling me that.

    2                AGENT VOLZ:    It's a pretty long process, a couple

    3   years that he's been going through this?

    4                MR. GABRISH:    Yeah.        Yeah, at least a couple years.

    5   I mean, probably more than that.               The bank could tell you

    6   exactly.    I remember the bank calling me and just I think

    7   because I got a reverse directory and say would you tell Marty

    8   Wirth that we're trying to work with him and return our calls.

    9   He wasn't returning the calls.             And he truly believes that,

   10   you know, if he would have won this case, the whole country

   11   against -- he had a suit against Fannie Mae or whoever was

   12   carrying the mortgage in the end (indiscernible) loan company.

   13   I mean, they would have to give back hundreds of thousands of

   14   houses so he says they're not going to let me live either.

   15                AGENT SCHAEFER:      It's a conspiracy against him?

   16                MR. GABRISH:    Yeah.        He said well, it could happen.

   17   They're not going to let him win.                Just because he doesn't

   18   make house payments and, you know, that's no excuse to throw

   19   somebody out.

   20                AGENT SCHAEFER:      That's different.               Okay.   Well,

   21   I'll go ahead and turn this thing off.                      You think of anything

   22   else?    Think of anything else?           Okay.        I'll go ahead and turn

   23   it off.    It's approximately 6:00.

   24           (Interview concluded.)

   25

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    1                                  CERTIFICATE

    2

    3               I, Lesley Fujarczyk, certify that I transcribed this

    4   record from the digital recording of the above-entitled

    5   matter.

    6               I further certify that the aforementioned transcript

    7   is a complete and accurate transcript of the proceedings based

    8   upon the audio facilities of these CD's and my ability to

    9   understand them.     Indiscernibles are due to microphones not

   10   working properly, excessive noises or muffled voices.

   11

   12               Signed this 21st day of March, 2016, in Loveland,

   13   Colorado.

   14

   15                                                 __________________________
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